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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                               CRIMINAL NO. 06-20663
                    Plaintiff,
                                               HONORABLE AVERN COHN
v.


D-23, KENNETH HELMS,

                    Defendant.
                                        /


                      ORDER EXTENDING REPORTING DATE


      On December 11, 2008, defendant Kenneth Helms, was sentenced to 42 months

and ordered to voluntarily surrender before 2:00 p.m. to the designated institution as

notified by the Bureau of Prisons. The defendant has requested to have the reporting date

extended from June 10, 2009 until September 01, 2009. The Court being fully advised in

the premises,

      IT IS ORDERED that the reporting date be extended. The defendant is to voluntarily

surrender for the commencement of his sentence to the designated institution before 2:00

p.m on September 01, 2009

      SO ORDERED.


Dated: May 22, 2009                         s/Avern Cohn
                                            AVERN COHN
                                            UNITED STATES DISTRICT JUDGE
